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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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 H. CRISTINA CHEN-OSTER, SHANNA                         :
 ORLICH, ALLISON GAMBA and MARY                         :
 DE LUIS,                                               :
                                                        :
                                 Plaintiffs,            :        10 Civ. 6950 (AT) (RWL)
                        v.                              :
                                                            ORAL ARGUMENT REQUESTED
                                                        :
 GOLDMAN SACHS & CO. and THE                            :
 GOLDMAN SACHS GROUP, INC.,                             :
                                                        :
                                 Defendants.            :
 ------------------------------------------------------ x


               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
               MOTION FOR RECONSIDERATION OR CERTIFICATION
              OF AN INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)



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March 31, 2022
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                                 PRELIMINARY STATEMENT

          This Court recently rejected Defendants’ argument that the class should be decertified

because Plaintiffs have not shown that each class member has standing to seek

damages. Defendants respectfully submit that decision is premised on a “clear error of law” that

warrants reconsideration. Cruz v. Barnhart, 2006 WL 547681, at *2 (S.D.N.Y. Mar. 7, 2006)

(Cote, J.) (citation omitted). Specifically, the Court concluded that the entire class has standing

because all class members were subject to the same challenged policies. In reaching that

conclusion, the Court borrowed a theory from equal-protection case law—the “equal-footing”

theory of Northeastern Florida Chapter of Associated General Contractors of America v. City of

Jacksonville, 508 U.S. 656, 666–68 (1993). Several years after Jacksonville, however, the

Supreme Court restricted the equal-footing theory to claims for injunctive relief, and held that it

does not apply to equal-protection claims for damages. See Texas v. Lesage, 528 U.S. 18, 20–22

(1999).

          In denying decertification, this Court thus borrowed a standing test for Title VII damages

claims that the Supreme Court has rejected for equal-protection damages claims. Under either

Title VII or the Equal Protection Clause, a plaintiff seeking damages must plead and prove a

concrete harm from the allegedly discriminatory policy that is redressable with money: in an

affirmative-action case like Lesage, that the applicant was denied admission; here, that each class

member suffered some lost pay. Because Plaintiffs’ own expert cannot say whether all class

members lost pay, and because discovery has confirmed that they did not, the Court should

reconsider and decertify the class. In the alternative, the Court should certify its Order for

interlocutory appeal under 28 U.S.C. § 1292(b), so that the Second Circuit may review the Court’s

decision on standing, as well as its ruling on commonality, before the parties and the Court have

to prepare for and conduct extensive and costly trial proceedings in this case.


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                                         BACKGROUND

       Plaintiffs allege that three processes used to evaluate Goldman Sachs associates and vice

presidents—360 reviews, quartiling, and cross-ruffing—discriminated against female employees.

Plaintiffs initially pursued both injunctive relief and damages, and moved for certification under

both Rule 23(b)(2) and Rule 23(b)(3). (Cert. Br. (ECF No. 247) at 42, 45.) Plaintiffs’ claims for

injunctive relief were later placed on a separate litigation track to allow further discovery on

Defendants’ then-current 360 review and quartiling practices. (ECF No. 560 at 57–58; see Cert.

Order (ECF No. 578) at 12–13.)

       On March 30, 2018, the Court certified a class under Rule 23(b)(3) for claims of backpay

and punitive damages. (Cert. Order at 12–13.) The certified damages class consisted of “[a]ll

female Associates and Vice Presidents who have worked in Goldman Sachs’ Investment Banking,

Investment Management, and/or Securities Divisions in the United States at any time from

September 10, 2004 to present, and in New York City from July 7, 2002 to the present.” (Cert.

Br. at 34; see Cert. Order at 49 (granting certification as relevant).) A few months later, Plaintiffs

dropped their class claim for injunctive relief by withdrawing their motion for certification under

Rule 23(b)(2) and abandoning further discovery into Goldman Sachs’s current annual practices.

(ECF No. 625 at 1.)

       Discovery proceeded on the Rule 23(b)(3) damages claim, and developed critical facts

about the membership of the class. Plaintiffs’ statistical expert, Dr. Farber, analyzed data on an

aggregate basis, and concluded that for some but not all years of the class period, women on

average were reviewed slightly less favorably and received slightly fewer promotions than men.

But Dr. Farber did not conclude that every member of the class suffered some monetary harm. On

the contrary, Dr. Farber admitted that his model “can’t tell you whether any particular woman was

discriminated against.” (Farber Tr. (ECF No. 1236-55) at 210:14–19.) In other words, Dr. Farber


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opined that “on average, there had to be someone who was discriminated against,” but his model

cannot discern how many people were actually discriminated against, or who they were. (Id. at

360:10–19.) Moreover, Dr. Farber conceded that his data “doesn’t attach . . . damages to any

particular woman,” and that he had not analyzed “the damages suffered by any particular woman

in the class.” (Id. at 345:14–346:6.) Dr. Farber thus admittedly could not “testify that all women

in the class were the victims of discrimination” (id. at 361:9–17), or even that any women in any

particular Division suffered discrimination (id. at 85:17–86:4). And in fact, Defendants’ expert

Dr. Shaw observed, “even using [Dr.] Farber’s own model,” a significant percentage of women

earned more than would be predicted for comparable male employees. (Shaw Rpt. (ECF No. 1236-

56) ¶ 288.)

       Discovery further revealed that the class included some members who could not have

suffered an injury from a challenged process. For example, hundreds of class members received

a top performance quartile in every single year in which they appear in the data, meaning that they

suffered no loss in compensation from quartiling. (Shaw Rpt. ¶ 221, App. K (presenting data from

“Farber Backup Materials”).) And the compensation of certain class members—self-sustaining

private wealth advisors—was not tied at all to their 360 review or quartiling results. (Brasco Decl.

(ECF No. 1227) ¶ 8.)

       Following discovery, Defendants moved to decertify the class. (Decert. Br. (ECF No.

1235).) Defendants explained that the class lacked standing to pursue damages because, in light

of Dr. Farber’s testimony, Plaintiffs could not demonstrate classwide monetary injury. (Decert.

Br. at 23–27; Decert. Reply (ECF No. 1307) at 3–11.) Simply being subject to the challenged

evaluation policies might have been sufficient to demonstrate standing to pursue injunctive relief,

but Plaintiffs abandoned certification of their injunctive claims. Under the Supreme Court’s recent

decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), the class needed to show


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classwide monetary injury in order to pursue backpay damages. (Decert. Br. at 23–27; Decert.

Reply at 3–7.)

          Defendants also showed that even if the class had standing, the class could not satisfy

Rule 23’s requirements for class certification because discovery had confirmed that individual

managers and cross-ruffers conducted highly discretionary reviews of employees in vastly

different jobs, thus precluding certification under Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338

(2011).     (Decert. Br. at 27–37; Decert. Reply at 11–19.)          Specifically, expert testimony

demonstrated that associates and vice presidents in the class held a wide variety of job functions.

Defendants’ expert Dr. Eric Dunleavy identified extensive job variation after interviewing dozens

of associates and vice presidents. (Dunleavy Work Rpt. (ECF No. 1236-50).) Discovery also

confirmed that individual reviewers exercised significant discretion in conducting all three

challenged evaluation processes. (See App. A (ECF No. 1236-1); App. B (ECF No. 1236-2).)

Plaintiffs have not provided any evidence to dispute these critical facts. (See Decert. Opp. (ECF

No. 1267) at 29.) Even Plaintiffs’ expert Dr. Farber admits that the case involves, at the very least,

“a few dozen” different job functions. (Farber Tr. at 370:7–14.)

          On March 17, the Court denied Defendants’ motion for decertification. (Decert. Order

(ECF No. 1337).) In the Court’s view, there was no clear rule in the Second Circuit to assess

standing for Title VII claims, so it borrowed a test from equal-protection jurisprudence. (Id. at 38.)

The Court held that all members of the class had standing because they were all subject to policies

that allegedly “prevented [them] from competing on an equal footing.” (Id. (quoting Ne. Fla.

Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666–67

(1993)).) The Court also held that the class satisfied the requirements of Rule 23. (Id. at 38–45.)

With respect to commonality, the Court stated that all class members “hold only one of two jobs:

Associate or Vice President” (id. at 41 (quoting Cert. Order at 27–28 n.11)), and again emphasized


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that all class members were subject to the same evaluation processes (id.).

                                           ARGUMENT

I.     THE COURT SHOULD RECONSIDER ITS STANDING DECISION

       Defendants respectfully request that the Court reconsider the portion of its Decertification

Order that addresses standing. (Decert. Order at 37–38.) Reconsideration is warranted where “the

moving party can point to controlling decisions . . . that the court overlooked,” which “might

reasonably be expected to alter the conclusion reached by the court.” Shrader v. CSX Transp.,

Inc., 70 F.3d 255, 257 (2d Cir. 1995). Here, the Court found standing based on a theory borrowed

from equal-protection cases—the “equal footing” theory—that neither party had briefed. (Decert.

Order at 38.) As explained below, several years after the Supreme Court adopted the equal-footing

theory in Jacksonville, it made clear that theory applies only to equal-protection claims for

injunctive relief, not damages. See Texas v. Lesage, 528 U.S. 18, 20–21 (1999). Under Lesage,

an equal-protection plaintiff who seeks damages must plead and prove a concrete harm from the

challenged policy that can be redressed with a damages award. Id. And under Denney v. Deutsche

Bank AG, 443 F.3d 253, 264 (2d Cir. 2006), every member of the class must have Article III

standing. Because Plaintiffs have not shown that all class members suffered some monetary injury

from Goldman Sachs’s policies, they do not have standing under Lesage and Denney.

       A.      An Equal-Footing Injury Is Not Sufficient To Support Equal-Protection
               Claims For Damages

               1.      The Relevant Injury For A Classwide Damages Claim Is Classwide
                       Monetary Harm

       The Court concluded in its Decertification Order that all class members had standing

because they were all subject to the challenged evaluation processes. (Decert. Order at 38.) As

Defendants explained in their decertification briefing, however, being subject to an allegedly

discriminatory policy may be sufficient to show standing in a suit for injunctive relief, but it is not



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enough in a suit for damages. (Decert. Br. at 23–27; Decert. Reply at 3–7.) The Supreme Court

recently reiterated in TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021), that plaintiffs

must demonstrate standing “for each form of relief that they seek.”              Being subject to a

discriminatory policy could be relevant to claims for injunctive relief because it might show the

“risk of future harm” if the policy is not enjoined. Id. at 2210. But in a suit for damages, plaintiffs

cannot rely on “the mere risk of future harm” to show standing. Id. at 2210–11. Instead, plaintiffs

must “demonstrate that the risk of future harm materialized,” id. at 2211—here, in the form of lost

compensation. That rule makes particular sense in this context. An employee who is or will be

subject to a discriminatory policy can sue to end that policy. But unless an employee suffers an

adverse employment action that resulted in a monetary injury, they cannot sue for damages.

       That requirement of a monetary injury applies not simply to the named Plaintiffs, but to all

of the class members. Under the Second Circuit’s decision in Denney, “no class may be certified

that contains members lacking Article III standing.” 443 F.3d at 264. A class therefore must “be

defined in such a way that anyone within it would have standing.” Id. But the class definition in

this case does not distinguish between employees who suffered monetary harm and those who did

not. Instead, the class is defined to encompass all female associates and vice presidents in three

divisions during the class period, regardless of whether they ever lost pay. (See Decert. Order

at 4.) Plaintiffs’ class definition flunks Denney because it indiscriminately captures class members

with no monetary injury and thus no standing to bring backpay claims. And as explained below,

that defect is even more glaring—and obviously incurable—now that discovery has been

completed without any evidence of classwide monetary injury.

       At this point, it is no longer enough for Plaintiffs to assert standing.            They must

“establish[], and not merely allege[], standing.” New York v. Scalia, 490 F. Supp. 3d 748, 767

(S.D.N.Y. 2020) (Woods, J.) (emphasis added); see TransUnion, 141 S. Ct. at 2208 (“A plaintiff


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must demonstrate standing with the manner and degree of evidence required at the successive

stages of the litigation.”) (internal quotation marks omitted). Plaintiffs have literally no evidence

to establish that every class member in fact experienced a monetary harm. By his own admission,

Plaintiffs’ expert Dr. Farber cannot determine how many class members, or which ones, actually

suffered a loss of compensation. (Farber Tr. at 210:14–19, 360:15–19.) This is the rare case in

which Plaintiffs successfully sought certification of a Rule 23(b)(3) damages class by alleging

classwide injury, and then did not even attempt to offer evidence that every class member had lost

some amount of compensation because of the allegedly discriminatory policies.

       In fact, discovery affirmatively demonstrated that many class members did not suffer a

monetary harm caused by Goldman Sachs’s policies. Even under Dr. Farber’s regression model,

a significant percentage of women earned more than would be predicted for comparable male

employees. (Shaw Rpt. ¶ 288 (showing predicted versus actual compensation “[u]sing Prof.

Farber’s model”).) Hundreds of class members received a top quartile in every year in which their

quartile was measured, meaning that they suffered no compensation injury from the quartiling

process. (Shaw Rpt. ¶ 221, App. K (presenting data from “Farber Backup Materials”).) And

compensation for some class members—self-sustaining private wealth advisors—was not tied to

their 360 review or quartiling results. (Brasco Decl. ¶ 8.) Indeed, as the Court itself recognized,

those private wealth advisors “may not recover damages given their differing compensation

structure.” (Decert. Order at 57.) The Court believed that those private wealth advisors could

nevertheless remain in the class for Phase I purposes (id.), but that is incorrect. Under Denney,

the class includes members who have not shown that they were injured, and so the class must be

decertified. See 443 F.3d at 264.




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                  2.   Even In The Equal-Protection Context, The Relevant Injury For A
                       Damages Claim Is Monetary Harm

       The Court rejected Defendants’ standing argument, but on a theory that neither party had

briefed. (Decert. Order at 38.) The Court stated that to establish standing “in the equal protection

context,” a plaintiff must show only that “a policy ‘prevented [the plaintiff] from competing on an

equal footing,’ not that the plaintiff ‘would have obtained a benefit but for the barrier.’” (Id.

(quoting Jacksonville, 507 U.S. at 666–67).) Without identifying a Second Circuit case endorsing

that test for Title VII claims, the Court nevertheless held that the “equal footing” standard should

also apply in the Title VII context. (Id. (citing Houser v. Pritzker, 28 F. Supp. 3d 222, 238–39

(S.D.N.Y. 2014)).) Because all class members were subject to at least one of the challenged

processes that allegedly put them on unequal footing, the Court concluded that the entire class had

standing. (Id.)

       Defendants respectfully submit that the Court’s reliance on Jacksonville overlooked

critical, controlling case law in the equal-protection context. Specifically, the Supreme Court in

Lesage, based on its previous decision in Mt. Healthy City Board of Education v. Doyle, 429 U.S.

274 (1977), limited Jacksonville to claims for injunctive relief. In Mt. Healthy, the Supreme Court

held that, even if the government has considered a constitutionally impermissible criterion in

reaching a decision, the plaintiff cannot receive backward-looking relief (like backpay damages)

if the government would have made the same decision absent the impermissible consideration.

429 U.S. at 285–87. In other words, merely being subject to a discriminatory policy alone is not

enough for retrospective relief like damages; the plaintiff must show that the policy discriminated

against her in some tangible way, and then the burden shifts to the defendant to show that the same

harm would have resulted regardless of the policy. It is not enough that the plaintiff was simply

subject to a discriminatory policy.



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       Sixteen years after Mt. Healthy, the Supreme Court adopted the equal-footing theory of

injury in Jacksonville. That led to the question whether Jacksonville had lessened the necessary

showing in equal-protection damages cases. In Lesage, 528 U.S. 18, the Court gave a direct

answer: no. The plaintiff in Lesage had challenged a “race-conscious” process for admission to a

University of Texas graduate program, and sought compensatory damages under Section 1983,

among other forms of relief. Id. at 19. Lesage had been rejected from the program, but evidence

conclusively showed that his application would have been denied even under a race-neutral

admissions program. Id. The Fifth Circuit held that it was irrelevant to liability whether Lesage

otherwise would have been admitted, because his injury was being subject to an admissions

process that placed him on unequal footing. Lesage v. Texas, 158 F.3d 213, 222 (5th Cir. 1998).

In the Fifth Circuit’s view, that unequal-footing injury allowed Lesage to press his claims, even if

he was not otherwise harmed by the discriminatory process.

       The Supreme Court rejected that view in a per curiam opinion without any dissent. The

Court explained that, under Mt. Healthy, for an equal-protection plaintiff to get damages, the

challenged government action must have had a concrete effect. Lesage, 528 U.S. at 20–21.

Because Lesage would have been denied admission regardless of the school’s consideration of

race, he had “no cognizable injury warranting” the damages he sought. Id. at 21 (emphasis added).

In reaching that conclusion, the Supreme Court expressly distinguished Jacksonville, and cabined

the equal-footing theory of injury to claims for injunctive relief. As directly relevant here, the

Court explained that “a plaintiff who challenges an ongoing race-conscious program and seeks

forward-looking relief need not affirmatively establish that he would receive the benefit in question

if race were not considered. The relevant injury in such cases is ‘the inability to compete on an

equal footing.’” Id. (quoting Jacksonville, 508 U.S. at 666). But Lesage’s failure to show that he

was deprived of any concrete benefit because of the alleged discrimination “preclude[d] any


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finding of liability” for damages. Id.

       In other words, Lesage held that when a plaintiff seeks “forward-looking relief”—like an

injunction—“[t]he relevant injury in such cases is ‘the inability to compete on an equal footing.’”

Id. (citation omitted). But that is not the relevant injury in a damages case like Lesage or this one.

If it were, then Lesage would have been injured solely by being subject to a race-conscious

admissions process, and the government’s reasons for ultimately denying Lesage admission would

not have mattered. Instead, Lesage makes clear that the relevant injury for a plaintiff who seeks

damages is whether the challenged policy caused a concrete harm—in Lesage, the denial of

admission; here, a loss of compensation. The Supreme Court’s equal-protection cases thus draw

an important line for standing purposes: for claims seeking injunctive relief, plaintiffs need only

allege that they face ongoing discrimination under Jacksonville; but for claims seeking damages,

plaintiffs must allege some additional harm that damages can redress under Lesage (and Mt.

Healthy).

       That standing framework is familiar to the courts of appeals. The First, Sixth, and Ninth

Circuits all have recognized that Lesage controls the standing inquiry in equal-protection damages

cases because it “clarif[ies] the ‘injury in fact to a cognizable interest’ that is required to support

standing for [a] damages claim.” Donahue v. City of Boston, 304 F.3d 110, 117 (1st Cir. 2002)

(citation omitted); see Aiken v. Hackett, 281 F.3d 516, 518–20 (6th Cir. 2002); Braunstein v. Ariz.

Dep’t of Transp., 683 F.3d 1177, 1186–87 (9th Cir. 2012); cf. Wooden v. Bd. of Regents of Univ.

Sys. of Ga., 247 F.3d 1262, 1277 (11th Cir. 2001) (“[Lesage] plainly bears on [the standing] inquiry

because it further defines the kind of injury that would support relief.”).* The First Circuit aptly


*
       Although the court in Wooden recognized that Lesage bears on the standing inquiry, it
nevertheless relied on Jacksonville to conclude that a plaintiff seeking damages had standing.




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summarized Lesage’s effect: “Lesage is a clear cue from the Supreme Court that we cannot apply

identical standing analyses to claims for damages and claims for prospective relief. It is equally

apparent, in light of Lesage, that the ‘equal footing’ analysis is applied only in claims for the latter

type of relief.” Donahue, 304 F.3d at 118.

        Standing in equal-protection cases is thus an example of, and not an exception to, the rule

articulated in TransUnion: a “risk of future harm,” such as the risk created by ongoing exposure

to a discriminatory policy, can satisfy Article III in the context of a claim for injunctive relief, but

plaintiffs must “demonstrate that the risk of future harm materialized” in order to have standing to

sue for damages. 141 S. Ct. at 2210–11; see United States v. Hays, 515 U.S. 737, 743–44 (1995)

(“[E]ven if a governmental actor is discriminating on the basis of race, the resulting injury accords

a basis for standing only to those persons who are personally denied equal treatment by the

challenged discriminatory conduct.”) (internal quotation marks omitted). In short, Plaintiffs’

TransUnion problem cannot be avoided by borrowing from the equal-protection context.

        B.      An Equal-Footing Injury Is Likewise Not Sufficient To Support Title VII And
                NYCHRL Claims For Damages

        An equal-footing injury is no more cognizable in the context of this class action for backpay

under Title VII and NYCHRL than it would be in an equal-protection suit for damages. Neither

the cause of action nor the class-action posture changes the analysis.

        First, the logic of Lesage applies with equal force in the context of Title VII and NYCHRL.

See 528 U.S. at 20–21. To get damages under Title VII, a plaintiff must show “that he or she



247 F.3d at 1278–81; see Donahue, 304 F.3d at 118–19 (criticizing this aspect of Wooden). But
unlike some members of this class, the relevant plaintiff in Wooden had clearly pointed to a
concrete harm under the allegedly discriminatory admissions policy: his college application had
been rejected. Indeed, the Eleventh Circuit noted that the plaintiff’s injury was redressable by,
“among other things, [a] declar[ation] that [his] application must be re-considered under an entirely
race-neutral admissions process.” Wooden, 247 F.3d at 1281. The court could not have found
standing on that basis if the plaintiff’s application had not been rejected.

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suffered an adverse employment decision” and that the discriminatory policy played a role in that

decision. Robinson v. Metro-North Commuter R.R. Co., 267 F.3d 147, 159, 161 (2d Cir. 2001)

(emphasis added), abrogated on other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

360–67 (2011). NYCHRL adopts the same framework. (Decert. Order at 49.) To receive backpay

damages specifically, the adverse decision must be tied to lost pay, because backpay is a form of

“economic damages,” intended to “return a victim of discrimination to the position she would have

found herself in had the violations never occurred.” Bergerson v. N.Y. State Office of Mental

Health, 652 F.3d 277, 286–87 (2d Cir. 2011). Merely being subject to a challenged policy is thus

not a cognizable injury in a Title VII suit for backpay damages, just as it is not a cognizable injury

in an equal-protection suit for damages.

       In its Decertification Order, this Court cited Houser v. Pritzker, 28 F. Supp. 3d 222

(S.D.N.Y. 2014), but there the Title VII plaintiffs were seeking both injunctive relief and damages.

Citing Jacksonville, Houser held that the relevant injury was whether the plaintiffs had been unable

to compete for a benefit on equal footing. Id. at 237–39. To be sure, the court in Houser did not

appear to distinguish for purposes of the injury inquiry between the forms of relief that the

plaintiffs sought, and it neither cited Lesage nor recognized that the relevant injury would be

different for the plaintiffs’ damages claim. But the oversight was immaterial. The court ultimately

concluded that certain named plaintiffs’ injuries were redressable by backpay damages because

they applied for the job with the necessary qualifications “and [were] not hired.” Id. at 240

(emphasis added). Houser thus determined that some plaintiffs had standing to seek Title VII

damages precisely because those plaintiffs had suffered concrete harm. Houser does not suggest

that a plaintiff may seek Title VII damages under an equal-footing theory even if she did not suffer

an adverse employment decision that caused monetary harm.

       Second, the class-action context of this case does not compel a different conclusion. Under


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Denney, every class member must have Article III standing for a class to be certified. 443 F.3d at

264. Because Plaintiffs seek only backpay, the Court must consider for purposes of certification

whether any class members lack standing to pursue damages. See TransUnion, 141 S. Ct. at 2210

(standing must be established for “each form of relief sought”) (citation omitted). For the reasons

explained above, that means Plaintiffs must show that the entire class suffered a monetary harm.

       This posture is, of course, highly unusual in the context of Title VII class actions. In a

usual Title VII class action proceeding under the framework announced in International

Brotherhood of Teamsters v. United States, 431 U.S. 324 (1977), a class may demonstrate

classwide standing to pursue injunctive relief at Phase I of the litigation, and defer demonstrations

of monetary harm to Phase II when class members may pursue backpay damages on an individual

basis. In this case, however, Plaintiffs withdrew their motion for Rule 23(b)(2) certification.

Moreover, any forward-looking claims relating to 360 reviews or quartiling have been mooted by

the Court’s grant of summary judgment to Defendants on all claims relating to those processes

after 2015. (Decert. Order at 57.) Phase I thus will not adjudicate the availability of injunctive

relief, since Plaintiffs are pursuing only backpay damages. In this atypical Title VII class action,

Plaintiffs cannot fall back on the type of injury that would be sufficient for a Phase I injunction in

a more typical case.

       Indeed, this case is even more unusual than a standard Title VII class action, because after

obtaining certification on the theory that every class member has a monetary injury, Plaintiffs’

own expert is unable to say that monetary injury was felt across the entire class, or for that matter,

any particular segment of the class. (See Farber Tr. at 85:17–86:4, 210:14–19, 345:14–346:6,

360:10–19, 361:9–17.) Dr. Farber admitted that his model “can’t tell you whether any particular

woman was discriminated against.” (Id. at 210:14–19.) It is hardly surprising that Plaintiffs and

Dr. Farber have not attempted to disaggregate the data. If they had, it would have showed that not


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all class members suffered some lost pay—making it clear beyond question that the class would

have to be decertified under Denney. Plaintiffs cannot avoid that result by offering only aggregated

data and then declining to say whether the entire class experienced a monetary injury. That

amounts to a straightforward end run around TransUnion and Denney.

                                          *       *       *

        In sum, this Court borrowed the equal-footing theory of standing from the equal-protection

context, but in that context the theory applies only to claims for injunctive relief. This Court has

not hesitated to grant reconsideration when alerted to case law that bears on one of its decisions.

See Unicolors, Inc. v. A&M LLC, 2018 WL 11219450, at *3 (S.D.N.Y. Dec. 18, 2018) (Torres, J.)

(granting reconsideration because “the Court agrees that it overlooked case law that could

reasonably be expected to alter its decision”). Reconsideration is especially appropriate here

because the equal-footing issue was not “fully briefed or argued by the parties” before the initial

decision. Reynolds v. Giuliani, 2005 WL 351729, at *1 (S.D.N.Y. Feb. 14, 2005) (Pauley, J.); see

Kleeberg v. Eber, 2021 WL 1164205, at *5 (S.D.N.Y. Mar. 25, 2021) (Parker, M.J.) (granting

reconsideration in part in light of overlooked case law where “parties did not brief the issue,” and

“the Court raised the issue sua sponte in its prior Opinion and Order”). Neither party discussed

the equal-footing theory in its decertification briefing, and Plaintiffs did not even cite Jacksonville

in their opposition to Defendants’ motion for decertification.          (Decert. Opp.)    Defendants

respectfully request that the Court reconsider its standing decision without relying on the equal-

footing theory, and conclude that Plaintiffs lack classwide standing for the reasons explained in

Defendants’ decertification briefing. (Decert. Br. at 23–27; Decert. Reply at 3–11.)

II.     IN THE ALTERNATIVE, THE COURT SHOULD CERTIFY THE
        DECERTIFICATION ORDER UNDER 28 U.S.C. § 1292(b) TO ALLOW THE
        SECOND CIRCUIT TO CONSIDER STANDING AND COMMONALITY

        If the Court does not agree that reconsideration is warranted, Defendants respectfully


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request that the Court certify its Decertification Order for interlocutory appeal under 28 U.S.C.

§ 1292(b). A district court may certify an order for interlocutory review if the order (1) involves

a “controlling question of law,” (2) on which there is “substantial ground for difference of

opinion,” (3) and “immediate appeal from the order may materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(b). “[D]istrict courts should not hesitate to certify

an interlocutory appeal” when the “preconditions for § 1292(b) review” are “satisfied.” Mohawk

Indus., Inc. v. Carpenter, 558 U.S. 100, 110–11 (2009). The Court’s Decertification Order meets

the statutory criteria for certification because it involves two controlling and significant questions

of law, the resolution of which would materially advance the termination of this litigation:

              Whether class members must have suffered monetary harm to have standing to

               pursue backpay damages under Title VII; and

              Whether the application of discretionary evaluation processes by individual

               managers to employees holding myriad different jobs defeats Rule 23’s

               commonality requirement.

       “Because the district court’s efficiency concerns are greatest in large, complex cases,

[§ 1292(b)] certification may be more freely granted in so-called ‘big’ cases.” SEC v. Rio Tinto

PLC, 2021 WL 1893165, at *3 (S.D.N.Y. May 11, 2021) (Torres, J.) (citation omitted) (granting

certification). Indeed, the Court has previously certified for interlocutory review an important

standing question in this litigation. (ECF No. 500 at 1.) Moreover, courts in this District routinely

certify orders that involve questions of standing and commonality. See, e.g., Ferring B.V. v.

Allergan, Inc., 343 F. Supp. 3d 284, 286 (S.D.N.Y. 2018) (Sweet, J.) (certifying standing

question); Bellino v. JPMorgan Chase Bank, N.A., 2017 WL 129021, at *5 (S.D.N.Y. Jan. 13,

2017) (Román, J.) (certifying standing question); Xuedan Wang v. Hearst Corp., 2013 WL

3326650, at *2–3 (S.D.N.Y. June 27, 2013) (Baer, J.) (certifying commonality question). The


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same course is warranted here.

       A.      Whether The Class Has Standing Merits Interlocutory Review

       The Court’s ruling on standing satisfies all three statutory requirements for certification for

interlocutory appeal under Section 1292(b).

               1.      Standing Presents A Controlling Question Of Law

       Whether the class members must have suffered a monetary harm to pursue backpay

damages under Title VII is a controlling, threshold legal question. The issue is a “pure question

of law” that turns entirely on the proper application of standing doctrine. Bellino, 2017 WL

129021, at *2. The Second Circuit could answer that question “quickly and cleanly without having

to study the record.” Capitol Records, LLC v. Vimeo, LLC, 972 F. Supp. 2d 537, 551 (S.D.N.Y.

2013) (Abrams, J.) (citation omitted).

       The standing question is controlling because “reversal of the district court’s opinion”

would “significantly affect the conduct of the action.” Flo & Eddie, Inc. v. Sirius XM Radio Inc.,

2015 WL 585641, at *1 (S.D.N.Y. Feb. 10, 2015) (McMahon, J.) (citation omitted). Under

Denney, the class definition must encompass members who have standing in order to maintain

certification of this damages class action. 443 F.3d at 264. But the class definition in this case is

not limited to employees who lost pay. (See Decert. Order at 4.) Nor have Plaintiffs established,

after a decade or more of discovery, that every member of the class actually suffered a monetary

injury, as Plaintiffs’ expert conceded that his studies “can’t tell you whether any particular woman

was discriminated against.” (Farber Tr. at 210:13–19). If the Second Circuit holds that a plaintiff

must have suffered a monetary injury to pursue backpay damages, then the existing class cannot

stand under Denney. See 443 F.3d at 264.

       Class decertification would “significantly affect the conduct of the action.” Glatt v. Fox

Searchlight Pictures Inc., 2013 WL 5405696, at *2 (S.D.N.Y. Sept. 17, 2013) (Pauley, J.)


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(concluding that an issue was controlling because it “affect[ed] . . . the propriety of certifying a

class action”). Decertification would obviate the need for trials on Plaintiffs’ disparate-treatment

and disparate-impact claims, and potentially hundreds of mini-trials on individual class members’

entitlement to backpay or punitive damages in Phase II. See Tucker v. Arthur Andersen & Co.,

67 F.R.D. 468, 485 (S.D.N.Y. 1975) (Werker, J.) (certifying for interlocutory appeal because if

the class “were ‘decertified’ both the court and the parties would not be faced with managing the

many facets of the class action, thus saving considerable time and resources of all concerned”).

Needless to say, the effect on this litigation would be significant.

                2.      There Is Substantial Ground For Disagreement Over The Standing
                        Question

        There is “substantial ground for difference of opinion” on the controlling question of class

standing. A substantial ground for difference of opinion exists where “(1) there is conflicting

authority on the issue, or (2) the issue is particularly difficult and of first impression for the Second

Circuit.” In re Goldman Sachs Grp., Inc. Sec. Litig., 2014 WL 5002090, at *3 (S.D.N.Y. Oct. 7,

2014) (Crotty, J.) (citation omitted). As explained above, supra pp. 8–14, the Court’s application

of the equal-footing theory to a damages claim conflicts with the Supreme Court’s holdings in

Lesage and Mt. Healthy. The Court’s standing analysis is also inconsistent with courts of appeals

that have recognized in the equal-protection context that, “in light of Lesage,” “the ‘equal footing’

analysis is applied only in claims for [prospective] relief.” Donahue, 304 F.3d at 118; see Aiken,

281 F.3d at 519; Braunstein, 683 F.3d at 1186–87. In light of contrary authority on the equal-

footing theory, there is substantial ground for disagreement with the Court’s ruling on standing.

                3.      Resolution Of The Standing Question Would Materially Advance The
                        Termination Of The Litigation

        Finally, resolution of the standing issue would “materially advance the ultimate termination

of the litigation.” That third prong of Section 1292(b) is satisfied “when an intermediate appeal


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‘promises to advance the time for trial or to shorten the time required for trial.’” In re A2P SMS

Antitrust Litig., 2015 WL 876456, at *5 (S.D.N.Y. Mar. 2, 2015) (Nathan, J.) (citation omitted).

In assessing the third prong, “courts must consider the institutional efficiency of both the district

court and the appellate court.” Rio Tinto, 2021 WL 1893165, at *3 (citation omitted).

       As explained above, reversal on the standing issue would require decertifying the class.

See supra pp. 16–17. The “Second Circuit has recognized that class certification decisions have

the potential to materially advance the ultimate termination of the litigation.” Scott v. Chipotle

Mexican Grill, Inc., 2017 WL 4326081, at *1 (S.D.N.Y. Sept. 25, 2017) (Carter, J.) (citing Marisol

A. by Forbes v. Giuliani, 104 F.3d 524, 529 (2d Cir. 1996)). “The determination whether to certify

a class can effectively conclude the action, one way or the other.” Wright & Miller, 16 Federal

Practice and Procedure § 3931.1 (3d ed. 2021 update). And at a minimum, immediate appellate

review of the standing issue could spare both the parties and the Court from expending an

enormous amount of time and resources trying Plaintiffs’ disparate-treatment and disparate-impact

claims, with potentially hundreds of mini-trials to follow on individual class members’ damages.

See Tucker, 67 F.R.D. at 485 (finding the third prong of Section 1292(b) to be satisfied because

“protracted and expensive litigation may very well be avoided” by class decertification).

       B.      Whether The Class Satisfies Commonality Also Merits Interlocutory Review

       Certifying the Order for interlocutory review would also permit the Second Circuit to

consider whether the class satisfies Rule 23’s commonality requirement. See Yamaha Motor

Corp., U.S.A. v. Calhoun, 516 U.S. 199, 205 (1996) (“[T]he appellate court may address any issue

fairly included within the certified order because ‘it is the order that is appealable, and not the

controlling question identified by the district court.’”) (citation omitted). The Court’s ruling on

commonality likewise satisfies the three statutory criteria for certification for interlocutory appeal

under Section 1292(b).


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       First, the Order involves a controlling legal question: whether common questions of fact

exist for a disparate-impact claim where individual reviewers apply highly discretionary evaluation

processes to employees who hold different jobs. That is a question of law that turns on the proper

application of Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). And the question is

controlling because if the Second Circuit reverses the Court’s commonality determination, then

class certification cannot be sustained under Rule 23. For the reasons explained above, supra pp.

16–17, decertification would “significantly affect the conduct of the action.” Flo & Eddie, 2015

WL 585641, at *1 (citation omitted).

       Second, there are substantial grounds for disagreement with the Court’s ruling on

commonality. The Court concluded that there existed “a common mode of exercising discretion

that pervades the entire company,” because class members were evaluated under the same policies.

(Decert. Order at 39–41 (quoting Wal-Mart, 564 U.S. at 356).) And the Court distinguished the

facts in Wal-Mart on the basis that “class members here hold only one of two jobs: Associate or

Vice President” (id. at 41 (internal quotation marks omitted)), notwithstanding Defendants’

evidence and Plaintiffs’ expert’s admission that class members performed numerous distinctive

job functions. (See Dunleavy Work Rpt.; Farber Tr. at 370:7–14.) But other courts—including in

this District—have held that simply being evaluated under the same general company-wide

process alone cannot “produce a common answer to the crucial question why was I disfavored”

where individual managers exercise significant discretion over how that policy is applied to

employees holding a wide range of jobs. Wal-Mart, 564 U.S. at 352. In Kassman v. KPMG LLP,

416 F. Supp. 3d 252, 280–81 (S.D.N.Y. 2018) (Schofield, J.), a court in this District denied class

certification to a class of employees with diverse jobs based on the “relative freedom . . . extended

to local supervisors” and the “lack of rigid criteria to channel [their discretion].” And in

Moussouris v. Microsoft Corp., 799 Fed. Appx. 459, 462 (9th Cir. 2019), the Ninth Circuit held


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that a class lacked commonality because class members held “more than 8,000 different positions,”

and their “individual managers had broad discretion over how to conduct” the evaluation process.

The Court distinguished those cases on the ground that here discretion “was channeled through the

challenged processes” (Decert. Order at 41 n.25), but in Kassman and Moussouris, too, the

supervisors exercised their discretion under similar general company-wide frameworks or

processes.

       Third, interlocutory appeal would materially advance the termination of the case. As

explained above, immediate appellate review could spare the parties and the Court from the

burdens of complex trials and potentially hundreds of mini-trials that could ultimately prove to

have been unwarranted. See supra pp. 17–18.

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court reconsider the

portion of its Decertification Order that addresses standing, or, in the alternative, certify the Order

for interlocutory appeal to allow the Second Circuit to review the Court’s holdings on standing

and commonality.




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                                                Respectfully,

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March 31, 2022




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